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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


In re:                                                         Chapter 11

SPORTCO HOLDINGS, INC., et al.,1                               Case No. 19-11299 (LSS)
                                                               (Jointly Administered)
                            Debtors.
                                                               Re: Docket No. 375

       ORDER AUTHORIZING SALE OF CERTAIN MISCELLANEOUS ASSETS
    FREE AND CLEAR OF ALL LIENS, CLAIMS, INTERESTS AND ENCUMBRANCES
            PURSUANT TO SECTION 363 OF THE BANKRUPTCY CODE

         Upon consideration of the Certification of Counsel Regarding Proposed Order

Authorizing the Sale of Miscellaneous Assets Outside the Ordinary Course of Business Free and

Clear of All Liens, Claims, Interests and Encumbrances Pursuant to Section 363 of the

Bankruptcy Code filed in accordance with the Order Establishing Procedures for Sales of

Certain Miscellaneous Assets Outside the Ordinary Course of Business Free and Clear of All

Liens, Claims, Interests and Encumbrances Pursuant to Section 363 of the Bankruptcy Code

[Docket No. 375] (the “Miscellaneous Asset Sale Procedures Order”);2 and it appearing from

the record that due and sufficient notice of the proposed sale (the “Sale Transaction”) of certain

of the Debtors’ Miscellaneous Assets pursuant to the terms and conditions of this Order and that

certain Asset Purchase Agreement, by and between Debtor United Sporting Companies, Inc. and

Great Southern Homes (the “Buyer”), attached hereto as Exhibit 1 (the “Purchase

Agreement”), has been given in accordance with the Miscellaneous Asset Sale Procedures

Order; and it further appearing that no other or further notice of the Sale Transaction, the

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  The Debtors, together with the last four digits of each Debtor’s federal tax identification number, are: Bonitz
Brothers, Inc. (4441); Ellett Brothers, LLC (7069); Evans Sports, Inc. (2654); Jerry’s Sports, Inc. (4289); Outdoor
Sports Headquarters, Inc. (4548); Quality Boxes, Inc. (0287); Simmons Guns Specialties, Inc. (4364); SportCo
Holdings, Inc. (0355); and United Sporting Companies, Inc. (5758). The location of the Debtors’ corporate
headquarters and the service address for all Debtors is 267 Columbia Ave., Chapin, SC 29036.
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  Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
Miscellaneous Asset Sale Procedures Order.


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Purchase Agreement and this Order is required; and it further appearing that (i) the Sale

Transaction, the Debtors’ entry into the Purchase Agreement, and the relief provided for in this

Order are in the best interest of the Debtors, their estates and creditors, (ii) the Sale Transaction

and the Debtors’ entry into the Purchase Agreement is an appropriate exercise of the Debtors’

business judgment, and (iii) the consideration received for the Miscellaneous Assets transferred

and conveyed to the Buyer under the Purchase Agreement (the “Purchased Assets”) is fair and

reasonable; and it further appearing that there is just cause for the relief granted herein; and after

due deliberation and sufficient cause therefor, IT IS HEREBY ORDERED THAT:

         1.        The Sale Transaction is APPROVED, the Debtors are authorized to enter into and

perform under the Purchase Agreement, and the requirements for the Sale Transaction set forth

in the Miscellaneous Asset Sale Procedures Order are satisfied.

         2.        In accordance with the terms of the Miscellaneous Asset Sale Procedures Order

and the Purchase Agreement, the Buyer shall acquire the Purchased Assets on an “AS IS

WHERE IS” basis without any representations or warranties from the Debtors as to the quality or

fitness of such assets for either their intended or any other purposes.

         3.        Pursuant to section 363(f) of the Bankruptcy Code and the Miscellaneous Asset

Sale Procedures Order, the Sale Transaction shall be free and clear of all liens, claims and

encumbrances whatsoever, with any such liens, claims and encumbrances to attach to the

proceeds of the Sale Transaction, with the same validity, force, and effect which they had against

the Purchased Assets prior to the Sale Transaction.

         4.        The Debtors are authorized to execute and deliver all instruments and documents,

including the Purchase Agreement, and take such other action as may be necessary or

appropriate, to implement and effectuate the Sale Transaction and the relief granted by the

Miscellaneous Asset Sale Procedures Order and this Order.
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         5.        This Order is immediately effective and enforceable, notwithstanding the possible

applicability of Rule 6004(h) of the Federal Rules of Bankruptcy Procedure or otherwise.

         6.        This Court shall retain jurisdiction to hear and determine all matters arising from

or related to the implementation of this Order, the Sale Transaction, and the Purchase

Agreement.




        Dated: October 24th, 2019
                                                    3   LAURIE SELBER SILVERSTEIN
        Wilmington, Delaware                            UNITED STATES BANKRUPTCY JUDGE
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